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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILMINGTON TRUST, NATIONAL              :
ASSOCIATION, AS TRUSTEE FOR THE         :
BENEFIT OF THE REGISTERED HOLDERS OF :
BANK OF AMERICA MERRILL LYNCH TRUST :
2017-BNK3, COMMERCIAL MORTGAGE PASS- :     CIVIL ACTION
THROUGH CERTIFICATES, SERIES 2017-BNK3, :
                                        :
                                           NO. 2:20-CV-05312-CMR
                                        :
                       Plaintiff,       :
      v.                                :
SHREE SAI SIDDHI KING OF PRUSSIA, LLC   :
                                        :
                       Defendant.       :
         SEVENTH STIPULATION EXTENDING TIME FOR DEFENDANT
 SHREE SAI SIDDHI KING OF PRUSSIA, LLC TO RESPOND TO COMPLAINT AND
           PLAINTIFF’S MOTION FOR APPOINTMENT OF RECEIVER

        Plaintiff Wilmington Trust, National Association, as Trustee for the Benefit of the
Registered Holders of Bank of America Merrill Lynch Commercial Mortgage Trust 2017-BNK3,
Commercial Mortgage Pass-Through Certificates, Series 2017-BNK3 ("Plaintiff") and defendant
Shree Sai Siddhi King of Prussia, LLC ("Defendant") hereby stipulate and agree that, in view of
their continuing settlement discussions, the time for Defendant to respond to Plaintiff’s Complaint
and Plaintiff’s Motion for Appointment of Receiver shall be extended up to and including Tuesday,
March 23, 2021.
Dated: March 22, 2021

 BALLARD SPAHR LLP                                KLEHR HARRISON
                                                  HARVEY BRANZBURG LLP

 /s/ Raymond A. Quaglia                           /s/ Robert P. Johns III
 Raymond A. Quaglia (PA ID No. 63146)             Francis M. Correll Jr. (PA ID No. 51076)
 Rachel H. Broder (PA ID No. 322742)              Robert P. Johns III (PA ID No. 209289)
 1735 Market Street, 51st Floor                   1835 Market Street, Suite 1400
 Philadelphia, PA 19103                           Philadelphia, PA 19103
 215-665-8500                                     (215) 569-2700
 quaglia@ballardspahr.com                         fcorrell@klehr.com
 broderr@ballardspahr.com                         rjohns@klehr.com
 Attorneys for Plaintiff                          Attorneys for Defendant

                                                     SO ORDERED:

                                                     ____________________________________
                                                                             , U.S.D.J.

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